Case 1:15-cv-00419-WES-PAS Document 240 Filed 01/25/19 Page 1 of 25 PageID #: 8325



                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF RHODE ISLAND
   _______________________________________
                                            )
   MARKHAM CONCEPTS, INC.; SUSAN GARRETSON;)
   and LORRAINE MARKHAM, individually and )
   in her capacity as trustee of the Bill )
   and Lorraine Markham Exemption Trust     )    C.A. No. 15-419 WES
   and the Lorraine Markham Family Trust, )
                                            )
             Plaintiffs,                    )
                                            )
        v.                                  )
                                            )
   HASBRO, INC.; REUBEN KLAMER; DAWN        )
   LINKLETTER GRIFFIN; SHARON LINKLETTER; )
   MICHAEL LINKLETTER; LAURA LINKLETTER     )
   RICH; DENNIS LINKLETTER; THOMAS FEIMAN, )
   in his capacity as co-trustee of the     )
   Irvin S. and Ida Mae Atkins Family       )
   Trust; ROBERT MILLER, in his capacity    )
   as co-trustee of the Irvin S. and Ida    )
   Mae Atkins Family Trust; and MAX         )
   CANDIOTTY, in his capacity as            )
   co-trustee of the Irvin S. and Ida Mae )
   Atkins Family Trust,                     )
                                            )
             Defendants.                    )
   _______________________________________ )

                  FINDINGS OF FACT AND CONCLUSIONS OF LAW

   WILLIAM E. SMITH, Chief Judge.

        To people of a certain age, who grew up in the America of the

   1960s and 70s — where television meant three channels and shows

   like Bonanza, Star Trek, and The Art Linkletter Show (more on that

   to come); where cars were made in America, period; and where phones

   were connected to wires, not cell towers — the Game of Life was a

   gangbuster hit found (it seemed) in every household in the country,

   alongside Twister, Clue, and Monopoly.         In the Game of Life, the
Case 1:15-cv-00419-WES-PAS Document 240 Filed 01/25/19 Page 2 of 25 PageID #: 8326



   winner retires to “Millionaire Acres.” In this suit, life imitates

   art as the heirs of toy developer Bill Markham have sued over what

   they see as proceeds from the exploitation of the Game that they

   have been wrongfully denied.

           The Game of Life was inspired by the first boardgame invented

   by Milton Bradley himself, in 1860, called the Checkered Game of

   Life.       It sold millions of copies after hitting the market in 1960,

   and continues to sell to this day.            Based on the idea that “life’s

   a game that can be played well, or badly,” historian Jill Lepore

   writes in The New Yorker, “[o]nly a handful of games have had as

   long a shelf life.”         Jill Lepore, The Meaning of Life, The New

   Yorker, May 21, 2007, at 38, 39.             This case, filed in 2015, has

   had a shelf life of its own.            But after two amendments to the

   complaint and considerable motion practice, the parties tried to

   the Court (in Los Angeles 1 and Rhode Island) Plaintiffs’ third

   claim for relief, which asks for a declaratory judgment that

   Markham’s       heirs   control   the       Game’s   intellectual   property.

   Specifically, Plaintiffs ask the Court to find that they have

   termination rights under section 304 of the Copyright Act of 1976.

           With these, Plaintiffs would be able to acquire the copyrights




           1
          Through the courtesy of the United States District Court
   for the Central District of California, this Court was able to
   hear live testimony from critical witnesses who, because of their
   age, could not travel to Rhode Island. The Court is most grateful
   to those who worked to make this possible.
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Case 1:15-cv-00419-WES-PAS Document 240 Filed 01/25/19 Page 3 of 25 PageID #: 8327



   to the Game that were long ago transferred to Defendant Hasbro,

   Inc.,’s   predecessor-in-interest,        the    Milton   Bradley   Company.

   Plaintiffs lose this turn, however:             the facts found below show

   that the physical creation of the Game’s prototype was done by

   Markham’s erstwhile employees — Grace Chambers and Leonard Israel

   — as well as Markham’s wife, Sue, and unnamed parties hired by

   Markham to furnish finishing touches.            They also show that this

   work was done at the instance and expense of Defendant and toy

   developer Reuben Klamer.

   I.    Findings of Fact

         The series of events leading to the Game 2 hitting the market

   in 1960 began a year earlier.       See, e.g., Exs. JTX 9, JTX 11, JTX

   12.   In 1959, a Reuben Klamer traveled from his home in Beverly

   Hills,    California,     to     Milton    Bradley’s      headquarters    in

   Springfield, Massachusetts.       Ex. JTX 9; Nov. 16, 2017, Trial Tr.

   (“Trial Tr. I”) 23–26.         Klamer was a toy developer with myriad

   contacts in the industry, and had come to pitch Milton Bradley

   executives a concept for a new toy.         See Trial Tr. I 18–26.

         Milton Bradley passed on the pitch.            Id. at 25.     But the

   company’s president at the time, Jim Shay, asked Klamer to develop

   a product idea to commemorate Milton Bradley’s 1960 centennial.




         2When the Court refers to the “Game” or the “prototype”
   without specifying any of their composite parts (the box cover,
   board, rules, etc.), it means to refer to these in their entirety.
                                        3
Case 1:15-cv-00419-WES-PAS Document 240 Filed 01/25/19 Page 4 of 25 PageID #: 8328



   Id. at 23; Ex. JTX 9.     Intrigued, Klamer agreed to do so and went

   searching for inspiration in Milton Bradley’s archive, where he

   stumbled upon an old copy of the Checkered Game of Life, see Ex.

   JTX 9, Trial Tr. I 23, which had been invented by the company’s

   namesake just before the Civil War to “forcibly impress upon the

   minds of youth the great moral principles of virtue and vice,”

   Lepore, supra, at 41.      The concept Klamer developed on the trip

   back home to California was to update the Checkered Game of Life

   to reflect post-World War II American society and values. 3             See

   Trial Tr. I 25–27; Exs. JTX 10., PTX 20, PTX 275.

        But Klamer was mostly an ideas man — he needed help refining

   his concept and, importantly, translating it into a prototype he

   could actually sell to Milton Bradley.        See Trial Tr. I 28–31, 64;

   Ex. JTX 10.    For this he reached out to one of his toy-industry

   contacts, Bill Markham.         Trial Tr. I 28–33.        An experienced

   advertiser, Markham was head of a firm set to that purpose named

   California Product Development (“CPD”).          See JTX 2; Trial Tr. I

   112; Nov. 17, 2017, Trial Tr. (“Trial Tr. II”) 64.           CPD employed

   two artists at the time, Grace Chambers and Leonard Israel, who

   were very good in Klamer’s estimation, and whose presence at CPD




        3 Klamer testified that he had scribbled some of the thoughts
   he had on the plane ride from Massachusetts to California. These
   notes were admitted into evidence, and reflect many of the
   attributes that eventually found their way into the Game. Ex. JTX
   10; Trial Tr. I 27–31.
                                        4
Case 1:15-cv-00419-WES-PAS Document 240 Filed 01/25/19 Page 5 of 25 PageID #: 8329



   convinced Klamer to hire Markham’s firm over others he considered.

   Trial Tr. I 28–31.      Chambers had received her training from the

   Art Center College of Design in Los Angeles, Trial Tr. II 60;

   Israel his from the Chicago Art Institute, Trial Tr. I 100.

         Markham agreed to take on the project in the summer of 1959.

   See Trial Tr. I 29–33.     With little time to waste — Milton Bradley

   wanted the product ready for market by January 1, 1960, see id. at

   55 — Markham and his team went to work, see id. at 34–35.             As to

   who did what during the approximately six weeks it took to produce

   the prototype, the Court credits especially the testimony of

   Chambers and Israel, which the Court heard live in Los Angeles. 4

   See generally Trial Tr. II 58–111 (Chambers); Trial Tr. I 99–136

   (Israel).   Neither has received a cent in royalties from the Game,

   nor have they any financial interest in the outcome of this suit.

   See Trial Tr. I 108–09; Trial Tr. II 58, 80.          The testimony each

   gave was largely consistent with that of the other.         See generally

   Trial Tr. II 58–111; Trial Tr. I 99–136.        Both, moreover, had only

   good things to say about their time working for Markham at CPD and

   with Klamer on the project.      See Trial Tr. I 101; Trial Tr. II 65–

   66.




         4Klamer also testified to these events. See Trial Tr. I 36–
   37.   And although he, as a successor to the now-defunct Link
   Research Corporation, see Ex. JTX 569, has a financial interest in
   this suit, the Court found his testimony credible, and largely
   corroborative of Chambers’s and Israel’s.
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Case 1:15-cv-00419-WES-PAS Document 240 Filed 01/25/19 Page 6 of 25 PageID #: 8330



         They testified that labor was divided:              Klamer and Markham

   combined to provide the big ideas, many ahead of their time.                 See

   Trial Tr. I 34, 103, 107–08, 127; Trial Tr. II 67–71, 75; see also

   Ex. JTX 25.       These included that the Game would be played on a

   circuitous path; the Game’s board would contain three-dimensional

   elements; the Game’s object would be to achieve various life

   milestones; and a spinner would dictate movement of the Game’s

   players.   See Trial Tr. I 107, 126–29; Trial Tr. II 68–71; Ex. JTX

   25.   Klamer also visited Markham’s firm once or twice a week during

   development to give real-time edits to Chambers and Israel while

   they worked — the former on the game board, the latter on the box

   cover —    to    produce   a   physical    instantiation    of    Klamer’s   and

   Markham’s ideas.      Trial Tr. I 103–04, 106–08, 129, 130–33; Trial

   Tr. II 71–78.

         Chambers and Israel both testified that they — not Markham or

   Klamer — were the ones at CPD who built the prototype.               Trial Tr.

   I   103–04,     106–07,    130–33;   Trial    Tr.   II   71–78.     Asked    who

   constructed the prototype’s game board, Chambers said that she did

   “most of it.”      Trial Tr. II 72.        Israel went further, testifying

   that “once it was decided what we wanted to have on the board,

   [Chambers] was the one who put it all together and did the final

   art work on it.”     Trial Tr. I 106.        Chambers was the one who built

   the houses, the mountains, and the elevated track out of balsa

   wood, cardboard, and colored pantone paper.              Trial Tr. II 99–103.

                                          6
Case 1:15-cv-00419-WES-PAS Document 240 Filed 01/25/19 Page 7 of 25 PageID #: 8331



   Chambers also placed the printing on the track and constructed a

   cardboard spinner.    See id. at 101, 132–33.     Some of these objects,

   such as the spinner and the mountains, were later converted to the

   plastic replicas used for the prototype by an outside firm Markham

   hired for that purpose.     See Trial Tr. I 121–22; Trial Tr. II 103–

   04; Ex. JTX 13.      An outside firm also bound the game board and

   printed the play money that was part of the prototype.           See Trial

   Tr. II 106–07; Ex. JTX 13.

          The art for the prototype’s box cover was Israel’s handiwork,

   according to both his and Chambers’s testimony.          Trial Tr. I 103–

   04, 110–11; Trial Tr. II 72, 74.          Israel created several small-

   scale sketches as possibilities for the box cover, from which

   Markham and Klamer selected the one they preferred.           Trial Tr. I

   103.   The favored design was then made by Chambers into a box cover

   of proper scale.      Id. at 134.        As with the board, Markham had

   “nothing to do” with the physical creation of the box cover.            Id.

   at 107.    Indeed, it was the testimony of both Israel and Chambers

   that Markham was often attending to other matters at CPD during

   the time the prototype was taking physical form.        Id. at 116; Trial

   Tr. II 73–74.

          The third major component to the prototype besides the board

   and the box — the rules — were a collective, iterative effort.

   Trial Tr. I 105–06, 116–18; Trial Tr. II 76–77, 105.              Once the

   Game was operational, everyone in and around the CPD offices at

                                        7
Case 1:15-cv-00419-WES-PAS Document 240 Filed 01/25/19 Page 8 of 25 PageID #: 8332



   the time — Markham, Klamer, Chambers, and Israel — would play it,

   and    then    throw   out   suggested    rule    changes      for   the   group   to

   consider.       Trial Tr. I 105–06, 118–19, 128; Trial Tr. II 76–77,

   105.    Some of these were tried and, because of some unforeseen

   disruptive effect on another rule, discarded.                   Trial Tr. I 105–

   06.    Some, however, were ultimately adopted, then copied by Sue

   Markham (Bill’s wife, and a copywriter by profession) into the

   prototype’s rule book.        Trial Tr. I 105–06, 116–18, 128; Trial Tr.

   II 105.

          Once completed, Markham and Klamer presented the prototype to

   Milton Bradley executives, including its vice president, Mel Taft,

   on or around August 10, 1959, at the famous Chasen’s restaurant in

   Hollywood, California.        See Trial Tr. I 38–39, 65–68, 86; Exs. JTX

   25, JTX 29.      Also at Chasen’s was radio and television personality

   Art Linkletter.        See Trial Tr. I 33, 39; Exs. JTX 25, JTX 29.                He

   was there on behalf of Link Research Corporation (“Link”), the

   firm    Linkletter     had   founded     with    Klamer   to    develop    consumer

   products that could be marketed using Linkletter’s considerable

   celebrity.       See Trial Tr. I 20, 33; Exs. JTX 29, JTX 34, JTX 39,

   JTX 42.       Part of Klamer’s pitch to Milton Bradley at the Chasen’s

   meeting was that Linkletter could help promote the Game. See Trial

   Tr. I 38–39; Exs. JTX 11, JTX 12.                The pitch worked:         Taft and

   Shea were impressed by the prototype, and left the restaurant

   thinking that with some tweaks it could be a commercial success.

                                             8
Case 1:15-cv-00419-WES-PAS Document 240 Filed 01/25/19 Page 9 of 25 PageID #: 8333



   See Exs. JTX 18, JTX 19, JTX 20, JTX 21, JTX 25, JTX 33; Trial Tr.

   I    40–41.     Soon   thereafter,        on   August    19,    Klamer     mailed     the

   prototype to Milton Bradley.            Ex. JTX 12; Trial Tr. I 96.

          Two agreements regarding rights to the Game followed.                          See

   Exs. JTX 1, JTX 2.       The first, entered on September 21, 1959, was

   a License Agreement between Link and Milton Bradley.                       Ex. JTX 1.

   This    agreement      gave    Milton     Bradley      the     exclusive    right      to

   manufacture and market the Game, which Link “had . . . designed

   and constructed.”        Id.    The License Agreement also allowed Milton

   Bradley to use Linkletter’s name and image in its advertising of

   the Game, and required Linkletter to plug the Game fifty-two times

   on his nationally televised show.               Id.     In return, Link received

   a six percent royalty on sales of the Game and an immediate, non-

   refundable $5,000 advance against these royalties.                        Id.    Absent

   termination or breach, the Agreement was to last as long as Milton

   Bradley marketed the Game.           Id.

          The    second   agreement,       the    Assignment      Agreement,       was   one

   between Link and Markham.          Ex. JTX 2.         Executed October 20, 1959,

   this agreement assigned “all of [Markham’s] right, title, and

   interest in and to the Game[] to Link.”                 Id.    Markham received the

   right to a royalty stream amounting to thirty percent of the six

   percent royalty Link had negotiated with Milton Bradley in their

   License Agreement. Id. Along with a nonrefundable $773.05 advance

   on   Markham’s    thirty       percent,    Link   agreed       to   pay   Markham     the

                                              9
Case 1:15-cv-00419-WES-PAS Document 240 Filed 01/25/19 Page 10 of 25 PageID #: 8334



   $2,423.16 he spent producing the prototype, id., for which he had

   billed Link, and which included Chambers’s and Israel’s salary,

   see Ex. JTX 13. Klamer paid Markham’s bill — a bill he had promised

   would be his responsibility at the outset of the project, Trial

   Tr. I 41–42, 57–58; Trial Tr. II 49 — out of the aforementioned

   $5,000 royalty advance Link secured from Milton Bradley.                 Ex. JTX

   2.    The Assignment Agreement stated that Markham had “invented,

   designed[,] and developed” the Game.                Id.    It also provided that

   Milton   Bradley     would   communicate       to    Markham   any   contemplated

   changes to the Game, allowing Markham to share his thoughts on

   these with Milton Bradley.        Id.        “[T]he final decision regarding

   such changes,” however, was to “rest with either LINK or [Milton

   Bradley].”    Id.

         While    the     parties    hammered           out     these   contractual

   arrangements, Milton Bradley was at work turning the prototype

   into a commercially viable boardgame.               Trial Tr. I 45–50; see also

   Exs. JTX 18, JTX 20, JTX 21, JTX 25, JTX 26, JTX 33, JTX 40, JTX

   43.   Both Markham and Klamer helped advise the company as to how

   best to carry out this transformation.                See Exs. JTX 26, JTX 27,

   JTX, 28, JTX 33, JTX 35, JTX 36.             Comparing early versions of the

   Game with the prototype shows a host of changes made — many with

   a view toward making the Game less expensive to manufacture, but

   that nevertheless altered its aesthetics.                  Compare Ex. JTX 509,

   with Ex. HTX 14; see also Trial Tr. I 45–50.                   For instance, the

                                           10
Case 1:15-cv-00419-WES-PAS Document 240 Filed 01/25/19 Page 11 of 25 PageID #: 8335



   early versions had the raised mountains directly on the Game’s

   circuitous track, whereas the prototype had them as background

   scenery surrounding the track.           Compare Ex. JTX 509, with Ex. HTX

   14; see also Trial Tr. I 45–50.           Moreover, the board in the early

   versions had fewer, and smaller, three-dimensional elements than

   the prototype.      Compare Ex. JTX 509, with Ex. HTX 14; see also

   Trial Tr. I 45–50.        Milton Bradley also changed the font on the

   Game’s box cover to make it more visually appealing, and varied

   the wording and order of certain of the Game’s rules to make them

   more intelligible.        Compare Ex. JTX 509, with Ex. HTX 14.

          Milton Bradley first published the Game on March 12, 1960.

   Exs. JTX 3, JTX 4, JTX 5; Trial Tr. I 58.                Later that year, on

   December 19, 1960, Milton Bradley applied to register copyrights

   in the Game’s board and rules. Exs. JTX 4, JTX 5. These identified

   the company as the author.         Exs. JTX 4, JTX 5.     Milton Bradley was

   also   noted   as   the   author    of   the   Game’s   box   in   a   copyright

   application submitted the same day by Link.             Ex. JTX 3.     The Game,

   an instant classic, sold like crazy, and is still a source of

   revenue for Milton Bradley’s successor-in-interest Hasbro, as the

   latter continues to market the original version of the Game, Ex.

   JTX 520, as well as updated versions incorporating various themes

   and characters, such as one recent rendition introduced at trial

   that included intellectual property from the popular Despicable Me

   children’s movie franchise, Ex. JTX 511.

                                            11
Case 1:15-cv-00419-WES-PAS Document 240 Filed 01/25/19 Page 12 of 25 PageID #: 8336



         The   ensuing   “Pay    Day!”    has   sometimes     been   the     cause   of

   consternation, however.        Even before the Game hit stores, there

   was a struggle, mostly on Markham’s part, to take credit for its

   genius. Trial Tr. I 54–56; see Exs. JTX 2, JTX 16, JTX 32.                         A

   provision in the Assignment Agreement, for example, required Link

   to ask Milton Bradley if Markham’s name could appear on the Game’s

   box cover.    Ex. JTX 2.     Klamer fulfilled this requirement on behalf

   of Link.      Ex. JTX 16.      But Milton Bradley kindly declined the

   request.     Ex. JTX 32.

         Then, in 1965, Markham came upon what he considered a false

   statement in the trade publication Toy & Hobby World, identifying

   Klamer as the designer of the Game.              Exs. PTX 20, PTX 87.             He

   responded with a brusque letter to Klamer.                 Ex. PTX 20.       “I am

   sure you are not so in need of recognition that you take credit

   for something in which your only connection was to sell it to

   Milton Bradley,” he wrote.            Id.    Markham sought to correct the

   alleged misattribution — which he found “very damaging to [his]

   reputation” — by asking Klamer that he prepare a letter recognizing

   Markham as the “sole inventor, designer and developer” of the Game.

   Id.     Markham   would    append     this   letter   to   the    press    release

   correcting the error that he was preparing for publication.                   Id.

         Klamer responded that he was “puzzled” by Markham’s letter,

   and pushed back on Markham’s suggestion that Klamer’s only role in

   what had already become a “great success” was selling the Game to

                                           12
Case 1:15-cv-00419-WES-PAS Document 240 Filed 01/25/19 Page 13 of 25 PageID #: 8337



   Milton Bradley.       Id.   Disinclined to upset the applecart, however,

   Klamer grudgingly acceded to Markham’s demand for recognition,

   writing that the Assignment Agreement obligated Klamer to agree

   that Markham invented the Game.               Id.   Going forward, Klamer went

   out of his way to prevent any publicity that would similarly offend

   Markham. See, e.g., Ex. PTX 20. For instance, Klamer preemptively

   wrote a publication called The Westerner to warn that they not

   associate     him    with   the   Game   in    a    forthcoming    article.     Id.

   “Although I know what my contribution was in the project,” Klamer

   wrote,   “I   want    to    eliminate    any    hassle   with     this   particular

   individual . . . .”         Id.

         Markham and Klamer fought not just over the limelight, but

   over money too.        In a letter to Klamer dated August 15, 1963,

   Markham complained that the Assignment Agreement had been a raw

   deal, grumbling that his share of the royalties was “ridiculously

   low” and that Art Linkletter had done little to promote the Game

   on television.       Ex. PTX 21.    Markham, feeling slighted, asked that

   he receive fifty percent of the three percent royalty Milton

   Bradley was then offering Link on sales of the Game overseas,

   instead of the thirty percent of Link’s share he had been receiving

   under the Assignment Agreement.           Id.

         Klamer waited until October 3, 1963, to respond, explaining

   his delay as follows:        “Someone whom I respected very much told me

   to count to twenty-five, not just to ten, when I got annoyed about

                                            13
Case 1:15-cv-00419-WES-PAS Document 240 Filed 01/25/19 Page 14 of 25 PageID #: 8338



   a situation.”     Id.    Setting the pattern he would follow in his

   later skirmishes with Markham over public recognition, Klamer

   noted his disagreement with Markham’s version of history, before

   caving to Markham’s demands.        Id.   That is to say, Klamer agreed

   to hand over fifty percent of the royalty Link received on foreign

   sales, but stated his belief that this was more than Markham was

   due under the Assignment Agreement, which, contrary to Markham’s

   laments, “was and is a fair one.”            Id.    Klamer also came to

   Linkletter’s defense, asserting that Milton Bradley was more than

   satisfied with Linkletter’s promotion of the Game, and indeed “was

   highly impressed with the TV commercial which Art did on the Game.”

   Id.

         An exchange of passive-aggressive letters was not enough to

   settle the next royalty dispute. Again having to do with Markham’s

   share of foreign royalties, this skirmish led to Markham and Klamer

   suing each other in California state court in the late 1980s.           See

   Ex. HTX 111.      The litigation ended on July 9, 1989, when the

   parties signed a handwritten settlement agreement.             Ex. JTX 58.

   Among other things, the agreement set Markham’s share of overseas

   sales at 36.66 percent of Link’s foreign royalties, while keeping

   his share of U.S. sales at thirty percent of Link’s domestic

   royalties, as stipulated in the Assignment Agreement.             Id.   The

   parties styled the Settlement Agreement as an amendment to the

   Assignment Agreement, which they agreed in 1989 they “continue[d]

                                        14
Case 1:15-cv-00419-WES-PAS Document 240 Filed 01/25/19 Page 15 of 25 PageID #: 8339



   to be governed by.”      Id.

         The present litigation is an attempt by Markham’s successors

   in interest — Markham passed away in 1993, see Ex. PTX 218 — to

   put an end to government by Assignment Agreement.             See Third Am.

   Compl. ¶¶ 77–82.      These Plaintiffs insist that their right to do

   so lies in section 304 of the Copyright Act of 1976.

   II.   Conclusions of Law

         Plaintiffs are, however, mistaken in their insistence:            the

   facts as found above show that this case fits squarely within the

   work-for-hire exception to the termination right granted authors

   in section 304.

         The Copyright Act of 1976 provides a work’s author the right

   to terminate a previously bestowed grant of copyright in that work.

   17 U.S.C. § 304(c).       The idea behind this right is to give an

   author a second chance to negotiate the rights to her work when —

   after it has been exploited during the term of an initial grant —

   she can better gauge the work’s value.             Mills Music, Inc. v.

   Snyder, 469 U.S. 153, 172–73 (1985).              Termination rights are

   especially important when hindsight shows the author made a bad

   deal the first time around.      Id.; see 3 Melville B. Nimmer & David

   Nimmer, Nimmer on Copyright § 11.01[A] (Matthew Bender rev. ed.).

         Although     necessary     to    achieve     fairness     in    these

   circumstances,     termination     rights   are    not   without     various

   qualifications, Nimmer & Nimmer, supra, § 11.02, one of which —

                                         15
Case 1:15-cv-00419-WES-PAS Document 240 Filed 01/25/19 Page 16 of 25 PageID #: 8340



   that excepting works for hire, 17 U.S.C. § 304(c) — determines

   this case.        Section 304(c) states, in relevant part, that “[i]n

   the case of any copyright subsisting in either its first or renewal

   term on January 1, 1978, other than a work made for hire, the

   . . . grant of a transfer . . . of the renewal copyright, executed

   before January 1, 1978, . . . is subject to termination . . . .”

   17 U.S.C. § 304(c) (emphasis added).                   The rule, then, is that

   copyrights     granted    prior   to    January      1,   1978,    are    subject    to

   termination, but not if the copyright is one in a work for hire.

   See Nimmer & Nimmer, supra, § 11.02 (“[The 1976 Act] moves in

   categorical       fashion,     disallowing       all      works    for     hire   from

   termination.”).

            What counts as a work for hire depends on when the work was

   created.      See Martha Graham Sch. & Dance Found., Inc. v. Martha

   Graham Ctr. of Contemporary Dance, Inc., 380 F.3d 624, 633–34 (2d

   Cir. 2004); Forward v. Thorogood, 985 F.2d 604, 606 n.2 (1st Cir.

   1993).      Works created on or after the effective date of the 1976

   Act (January 1, 1978) have their work-for-hire status determined

   according to the statutory definition given in the 1976 Act.                        See

   17 U.S.C. § 101.         However, for works created before that date,

   this     status   is   determined      under   the     Copyright     Act    of    1909,

   predecessor to the 1976 Act, which contained the concept, but

   lacked a statutory definition, of a work for hire                     See 17 U.S.C.

   §   26    (repealed    1978)   (“[T]he    word    ‘author’        shall   include    an

                                            16
Case 1:15-cv-00419-WES-PAS Document 240 Filed 01/25/19 Page 17 of 25 PageID #: 8341



   employer in the case of works made for hire.”); Forward, 985 F.2d

   at 606 n.2. Without definitional guidance from the statute, courts

   have had the task of tracing the term’s 1909 Act contours.                Cmty.

   for Creative Non-Violence v. Reid, 490 U.S. 730, 744 (1989).

          The First Circuit’s efforts in this regard led it to adopt a

   definition of the term that tracks the instance-and-expense test.

   Forward, 985 F.2d at 606 & n.2.            Borrowed from the Second and Ninth

   Circuits, this test has it that the presumptive “‘author’ and

   copyright holder of . . . [a] commissioned work[] created by

   independent contractors” is “the commissioning party at whose

   ‘instance and expense’ the work was done.”                 Id. at 606 (citing

   Brattleboro Publ’g Co. v. Winmill Publ’g Corp., 369 F.2d 565, 567–

   68    (2d    Cir.   1966));   see   also    Lin–Brook    Builders   Hardware   v.

   Gertler, 352 F.2d 298, 300 (9th Cir. 1965) (adopting instance-and-

   expense test).

          In Forward, the First Circuit held that demo tapes with music

   from the blues band George Thorogood and the Destroyers were not

   works for hire where there was no evidence they were “prepared for

   the    use    and   benefit   of”   plaintiff    music   aficionado,    who    had

   arranged for the band to record the tapes.                Forward, 985 F.2d at

   604–06.      Instead, the tapes had been recorded for the purpose of

   enticing a record company to sign the band to a record deal.                   Id.

   at 606.       Moreover, the aficionado, as the alleged commissioning

   party, “neither employed nor commissioned the band members nor did

                                              17
Case 1:15-cv-00419-WES-PAS Document 240 Filed 01/25/19 Page 18 of 25 PageID #: 8342



   he compensate or agree to compensate them.”           Id.   Because the tapes

   were not produced at plaintiff’s instance and expense, the First

   Circuit ruled, he was not their author under the 1909 Act.                Id.

         In this case, though, the work at issue was “prepared for the

   use and benefit” of, and paid for by, a commissioning party, namely

   Reuben Klamer.      See id.     That is to say, the Game’s prototype was

   produced at his instance and expense.            Instance here “refers to

   the extent to which the hiring party provided the impetus for,

   participated in, or had the power to supervise the creation of the

   work.”     Marvel Characters, Inc. v. Kirby, 726 F.3d 119, 139 (2d

   Cir. 2013).      And it was Klamer who provided the impetus for the

   prototype’s creation when, after visiting the archives at Milton

   Bradley,    he   selected     Markham’s    company   to   help   him   make   the

   prototype.       Ex. JTX 9; Trial Tr. I 23–26, 28–33; see Twentieth

   Century Fox Film Corp. v. Entertainment Distrib., 429 F.3d 869,

   879 (9th Cir. 2005) (describing “the ‘instance’ test as an inquiry

   into whether the motivating factor in producing the work was the

   employer who induced the creation” (quotation marks omitted)).

   This selection is the sole reason for Markham’s involvement, and

   spurred everything that came after:           the fast work of everyone at

   CPD to bring the prototype into existence, Trial Tr. I 99–136;

   Trial Tr. II 58–111; the presentation of the prototype to Milton

   Bradley executives at Chasen’s restaurant, Trial Tr. I 38–39; Exs.

   JTX 25, JTX 29; and ultimately the manufacture and sale of the

                                         18
Case 1:15-cv-00419-WES-PAS Document 240 Filed 01/25/19 Page 19 of 25 PageID #: 8343



   Game, Exs. JTX 12, JTX 18, JTX 19, JTX 20, JTX 21, JTX 25, JTX 33.

         Klamer had the power to supervise the prototype’s creation.

   See Twentieth Century Fox, 429 F.3d at 879 (“The ‘instance’ test

   is shaped in part by the degree to which the hiring party had the

   right to control or supervise the artist’s work.” (quotation marks

   omitted)); Martha Graham, 380 F.3d at 635.                    Both Chambers and

   Israel testified to Klamer’s frequent presence at CPD while they

   worked on the prototype.            Trial Tr. I 106–08; Trial Tr. II 73.

   They considered Klamer the client for the project, and one whose

   suggestions for changes they were expected to, and did, implement.

   Trial Tr. I 103–04, 106–07, 130–33; Trial Tr. II 71–78; see Marvel,

   726 F.3d at 139 (“Actual creative contributions or direction

   strongly suggest that the work is made at the hiring party’s

   instance.”).      They also considered Klamer the final arbiter of the

   prototype’s look and feel.           Trial Tr. I 103–04, 106–07, 130–33;

   Trial Tr. II 71–78.

         The   preeminence       of    Klamer’s     predilections      is    further

   evidenced in the Assignment Agreement.                   See Ex. JTX 2.   There,

   Markham recognized that while he had a right to learn of any

   contemplated changes to the prototype’s design, he “understood

   that the final decision regarding such changes shall rest with

   either LINK or [Milton Bradley].”            Id.; see Picture Music, Inc. v.

   Bourne, Inc., 457 F.2d 1213, 1217 (2d Cir. 1972) (finding the song

   “Who’s   Afraid    of   the   Big    Bad     Wolf”   a    work-for-hire   because

                                           19
Case 1:15-cv-00419-WES-PAS Document 240 Filed 01/25/19 Page 20 of 25 PageID #: 8344



   commissioning parties had “the power to accept, reject, or modify

   [the composer’s] work”).

         Because Klamer “provided the impetus for, participated in,

   [and] had the power to supervise the creation of [the prototype],”

   the Court concludes it was made at his instance.         Marvel, 726 F.3d

   at 139, 141 (“Marvel’s inducement, right to supervise, exercise of

   that right, and creative contribution with respect to [comic-book

   artist Jack] Kirby’s work during the relevant time period is more

   than enough to establish that the works were created at Marvel’s

   instance.”).

         The prototype was also created at Klamer’s expense. 5               In

   determining who bore the expense of creation, the lodestar is

   financial risk; the question being who took it, or most of it.

   See, e.g., id. at 140 (noting that the law here is ultimately

   interested in who took the “risk with respect to the work’s

   success”); Twentieth Century Fox, 429 F.3d at 881 (affirming that

   General Dwight D. Eisenhower’s World War II memoir was produced at




         5An argument could have been made (but was not) that the Game
   was created at the instance and expense of Milton Bradley. After
   all, it was Milton Bradley that solicited Klamer to come up with
   something for the company’s anniversary, and it was Milton Bradley
   that, once it accepted the Game, paid Klamer $5,000 and bore the
   risk of its failure to sell to the public.      There are problems
   with this theory. For example, it was Klamer who hired Markham,
   not Milton Bradley. In any event, this argument was not made by
   Hasbro, presumably because, as a recipient of a license in the
   prototype, it would not affect the result, and because Hasbro
   thought it in the company’s interest to present a unified theory.
                                        20
Case 1:15-cv-00419-WES-PAS Document 240 Filed 01/25/19 Page 21 of 25 PageID #: 8345



   the publisher’s expense because it “took on all the financial risk

   of the book’s success”); Siegel v. Warner Bros. Entm’t. Inc., 658

   F. Supp. 2d 1036, 1058 (C.D. Cal. 2009) (noting that the focus of

   the expense calculus is “on who bore the risk of the work's

   profitability”).

         One feature of Klamer’s arrangement with Markham and his

   company — and what likely accounted for the level of control Klamer

   had over the making of the prototype — was that Klamer would pay

   any and all costs Markham incurred during the project.           Trial Tr.

   I 41–42, 57–58; Trial Tr. II 49; see Exs. JTX 2, JTX 13.           This was

   true even if Klamer was unable to convince Milton Bradley to

   manufacture the Game.      Trial Tr. I 41–42, 57–58; Trial Tr. II 49

   see Exs. JTX 2, JTX 13.        In other words, if the Milton Bradley

   executives at Chasen’s had been thoroughly unimpressed by the

   prototype and passed on it completely — as they had on the other

   idea Klamer brought to them just months earlier — Klamer would

   have remained on the hook for the $2,423.16 Markham billed him on

   October 12, 1959.     Trial Tr. I 41–42, 57–58; Trial Tr. II 49; see

   Exs. JTX 2, JTX 13; see also Ex. PTX 20 (evidencing Markham’s

   understanding that Klamer’s role in creating the Game was “to sell

   it to Milton Bradley”).      This sum included the cost of Chambers’s

   and Israel’s labor along with the material used in the prototype.

   Ex. JTX 13.

         Klamer also agreed to pay Markham thirty percent of the

                                        21
Case 1:15-cv-00419-WES-PAS Document 240 Filed 01/25/19 Page 22 of 25 PageID #: 8346



   royalty he negotiated for himself from Milton Bradley.                 Ex. JTX 2.

   And while the use of royalties as payment, as opposed to a fixed

   sum,    “generally       weighs        against   finding    a     work-for-hire

   relationship,” Playboy Enters. v. Dumas, 53 F.3d 549, 555 (2d Cir.

   1995), “[t]he absence of a fixed salary . . . is never conclusive,”

   Picture Music, 457 F.2d at 1216, and has been found “a rather

   inexact method of properly rewarding with ownership the party that

   bears the risk with respect to the work’s success,” Marvel, 726

   F.3d at 141.      Markham was, moreover, not obliged to pay back the

   $773.05 advance on royalties he received from Klamer.                  Ex. JTX 2;

   cf. Picture Music, Inc. v. Bourne, Inc., 314 F. Supp. 640, 651

   (S.D.N.Y. 1970) (“[T]he fact that the author was obliged to repay

   advances on royalties which were never accrued is an indicant that

   the relationship was not an employment for hire.”).                       So the

   royalties involved here do nothing to change the reality that the

   risk, and therefore the expense, was Klamer’s.

          Klamer having provided the instance for and bearing the

   expense of the prototype’s invention, the presumption arises under

   the 1909 Act that he was the prototype’s author and entitled to

   its copyright ab initio.          See Twentieth Century Fox, 429 F.3d at

   881;   Forward,    985   F.2d     at    606.     And   contrary   to    Markham’s

   contention, nothing in the Assignment Agreement overcomes this

   presumption.      See Lin-Brook Builders, 352 F.2d at 300 (holding

   that “an express contractual reservation of the copyright in the

                                             22
Case 1:15-cv-00419-WES-PAS Document 240 Filed 01/25/19 Page 23 of 25 PageID #: 8347



   artist” is necessary to rebut the presumption of the copyright in

   the hiring party); Nimmer & Nimmer, supra, § 5.03 (noting that

   under the 1909 Act, “in the absence of persuasive evidence of an

   agreement to the contrary, it was generally held that if an artist,

   writer, photographer, architect or other ‘author’ is commissioned

   to create a work, the copyright in such work would vest in the

   person commissioning the work”). The Agreement states that “[u]pon

   the request of LINK, MARKHAM will pursue any copyright . . . to

   which he may be entitled as the inventor, designer and developer

   of the Game . . . [and] will assign any such copyright . . . to

   LINK.”    Ex. JTX 2.

         But this language, far from naming a copyright holder other

   than Klamer, is operative only in a hypothetical world where

   Markham   held    a   copyright   in   the   prototype.        The   Assignment

   Agreement’s post hoc description of Markham as the “inventor,

   designer and developer of the Game” does not make this hypothetical

   world a reality.         Id.; see Nimmer & Nimmer, supra, § 11.02

   (“Insofar as a work is made ‘for hire’ because it has been prepared

   by an employee within the scope of his employment, it is the

   relationship that actually exists between the parties, not their

   description      of   that   relationship,     that   is    determinative.”).

   Neither does anything else in the Agreement.               See Ex. JTX 2.    So

   it remains the case that in the real world — where, as the foregoing

   has   shown,   the    presumption   was     that   copyright    ownership   was

                                          23
Case 1:15-cv-00419-WES-PAS Document 240 Filed 01/25/19 Page 24 of 25 PageID #: 8348



   Klamer’s — this clause in the Assignment Agreement is but an empty

   precaution.     Cf. Marvel, 726 F.3d at 143 (“It is all too likely

   that, if the parties thought about it at all, Kirby’s assignments

   at the time he was paid or later were redundancies insisted upon

   by Marvel to protect its rights; we decline to infer from Marvel's

   suspenders that it had agreed to give Kirby its belt.”).            Decades

   of   post-publication      history    show    this    was   the    parties’

   understanding as well:       Markham was never asked to “pursue any

   copyright” because he had no copyright to pursue.           Ex. JTX 2; see

   Exs. JTX 7, JTX 8, JTX 9, JTX 23.

         In the final analysis, the prototype was a “work[] made for

   hire” under the 1909 Act, 17 U.S.C. § 26 (repealed 1978), and

   Plaintiffs are thus without termination rights under the 1976 Act,

   17 U.S.C. § 304(c).

   III. Conclusion

         Like the Game of Life itself, this fifty-nine-year tug-of-

   war for renown and royalties has followed a long, circuitous path.

   And one that — on this “Day of Reckoning,” to use the Game’s

   parlance — ends essentially where it began:          for it is sometimes

   said, in disbelief, that success has many fathers, but failure is

   an orphan; nevertheless, the weight of the evidence in this case

   is that the success that met the Game of Life was, in fact, nothing

   if not the result of collective effort.         And although the credit,

   in the colloquial sense, can be split pro rata, the law dictates

                                        24
Case 1:15-cv-00419-WES-PAS Document 240 Filed 01/25/19 Page 25 of 25 PageID #: 8349



   that the copyrights cannot be.       For this reason — and not because

   of the unparalleled contribution of any one person as compared to

   another — Plaintiffs’ third claim for relief fails.

   IT IS SO ORDERED.



    William E. Smith
    Chief Judge
    Date: January 25, 2019




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